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             RUDOLPH CONTRERAS, UNITED STATES DISTRICT JUDGE
                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA                     :    Docket No.: 0090 1:22CR00343-001
                                                :
                     vs.                        :    Disclosure Date: January 26, 2023
                                                :
          Gordon, John Thomas                   :


       PARTIES OBLIGATION AND RESPONSE TO PRESENTENCE REPORT

Pursuant to Fed. Rules of Crim. Proc. Rule 32(f)(1) and (2), the parties shall submit any material
inaccuracies or disputes to the presentence investigation report (PSR), by February 9, 2023 This
form and/or objections to the PSR shall be filed via CM/ECF.

Note: The probation office never includes information about 18 USC § 3553(e) or USSG § 5K1.1,
pursuant to Rule 32(c)(3).

                                      For the Government
(CHECK APPROPRIATE BOX)
       (X)     There are no material/factual inaccuracies therein.
       ( )     There are material/factual inaccuracies in the PSR.

                                       For the Defendant
(CHECK APPROPRIATE BOX)
       (X)     There are no material/factual inaccuracies therein.
       ( )     There are material/factual inaccuracies in the PSR.


                 Restrictions on Use and Redisclosure of Presentence Report

The presentence investigation report and this form are not public documents.

It is the policy of the federal judiciary and the Department of Justice that further redisclosure of
the presentence investigation report is prohibited without the consent of the sentencing judge.
